   Case 19-16086-JNP              Doc 36     Filed 07/02/20 Entered 07/02/20 09:25:53              Desc
                                                 Page 1 of 3




                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY
                                     CAMDEN VICINAGE DIVISION

In re:                                                           Case No. 19-16086-JNP
         RENEE L. SHEPHERD

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Isabel C. Balboa, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/26/2019.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Dismissed on 12/18/2019.

         6) Number of months from filing to last payment: 7.

         7) Number of months case was pending: 15.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $26,475.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
  Case 19-16086-JNP              Doc 36         Filed 07/02/20 Entered 07/02/20 09:25:53                              Desc
                                                    Page 2 of 3



Receipts:

           Total paid by or on behalf of the debtor                       $4,722.42
           Less amount refunded to debtor                                 $4,344.63

NET RECEIPTS:                                                                                                        $377.79



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                           $0.00
     Court Costs                                                                     $0.00
     Trustee Expenses & Compensation                                               $377.79
     Other                                                                           $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                                    $377.79

Attorney fees paid and disclosed by debtor:                               $0.00



Scheduled Creditors:
Creditor                                                Claim         Claim         Claim         Principal             Int.
Name                                    Class         Scheduled      Asserted      Allowed          Paid                Paid
APEX ASSET MANAGEMENT, LLC          Unsecured               300.00           NA             NA                0.00             0.00
BETHESDA EMERGENCY ASSOC            Unsecured               454.00           NA             NA                0.00             0.00
BUSINESS REVENUE SYSTEMS            Unsecured               454.86           NA             NA                0.00             0.00
CAPITAL ONE BANK USA, N.A.          Unsecured             1,166.00           NA             NA                0.00             0.00
CARE CENTRIX                        Unsecured             1,508.65           NA             NA                0.00             0.00
CARRINGTON MORTGAGE SERVICES        Secured             201,078.40    198,739.20      32,587.41               0.00             0.00
CREDIT ONE BANK                     Unsecured               428.15           NA             NA                0.00             0.00
DEPARTMENT OF THE TREASURY          Priority                890.00        906.27         906.27               0.00             0.00
DEPARTMENT OF THE TREASURY          Unsecured                  NA       1,127.91       1,127.91               0.00             0.00
INOVA ALEXANDRIA HOSPITAL           Unsecured               233.58           NA             NA                0.00             0.00
JOHN HZPLINS                        Unsecured               566.00           NA             NA                0.00             0.00
LOURDES MEDICAL ASSOC               Unsecured               300.00           NA             NA                0.00             0.00
LVNV FUNDING, LLC                   Unsecured                  NA         475.94         475.94               0.00             0.00
NATIONWIDE ADVANTAGE MTG            Secured                    NA            NA             NA                0.00             0.00
NORTHWEST HOSPITAL                  Unsecured             2,948.30           NA             NA                0.00             0.00
NPS MEDICAL BILLING                 Unsecured               301.85           NA             NA                0.00             0.00
ROTHMAN INSTITUTE                   Unsecured               307.53           NA             NA                0.00             0.00
SOLUTIONS PHYSICAL THERAPY          Unsecured             1,740.05           NA             NA                0.00             0.00
STATE OF NEW JERSEY                 Priority              1,100.00           NA             NA                0.00             0.00
TD BANK, N.A.                       Unsecured               295.51           NA             NA                0.00             0.00
THERA SPORT PHYSICAL THERAPY        Unsecured               854.56           NA             NA                0.00             0.00
U.S. DEPARTMENT OF EDUCATION        Unsecured             6,007.00     93,957.70      93,957.70               0.00             0.00
U.S. DEPARTMENT OF EDUCATION        Unsecured             9,205.00           NA             NA                0.00             0.00
UNIV OF MARYLAND                    Unsecured             1,148.20           NA             NA                0.00             0.00
VERIZON BY AMERICAN INFOSOURC       Unsecured               363.00           NA             NA                0.00             0.00




UST Form 101-13-FR-S (9/1/2009)
  Case 19-16086-JNP               Doc 36       Filed 07/02/20 Entered 07/02/20 09:25:53                         Desc
                                                   Page 3 of 3



 Summary of Disbursements to Creditors:
                                                                      Claim             Principal               Interest
                                                                    Allowed                 Paid                   Paid
 Secured Payments:
        Mortgage Ongoing                                              $0.00                 $0.00                 $0.00
        Mortgage Arrearage                                       $32,587.41                 $0.00                 $0.00
        Debt Secured by Vehicle                                       $0.00                 $0.00                 $0.00
        All Other Secured                                             $0.00                 $0.00                 $0.00
 TOTAL SECURED:                                                  $32,587.41                 $0.00                 $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                   $0.00                 $0.00                 $0.00
         Domestic Support Ongoing                                     $0.00                 $0.00                 $0.00
         All Other Priority                                         $906.27                 $0.00                 $0.00
 TOTAL PRIORITY:                                                    $906.27                 $0.00                 $0.00

 GENERAL UNSECURED PAYMENTS:                                     $95,561.55                 $0.00                 $0.00



 Disbursements:

          Expenses of Administration                                       $377.79
          Disbursements to Creditors                                         $0.00

 TOTAL DISBURSEMENTS :                                                                                        $377.79



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/02/2020                                  By: /s/ Isabel C. Balboa
                                                                                  Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
